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RETAILMENOT, INC.

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA

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IN RE SUBPOENA TO ev 2 0

HOLDINGS, INC.
Served in case:

RetailMeNot, Inc. v. Honey Science Corp.,
Case No. 18-cv-937-CFC-MPT (D. Del.)

 

 

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FEB 07 2020
SUSAN Y. SOONG

CLERK, U.S. DISTRICT COURT
NORTH DISTRICT OF CALIFORNIA

MEMORANDUM OF POINTS AND
AUTHORITIES IN SUPPORT OF

PLAINTIFF RETAILMENOT’S MOTION

TO COMPEL OUT OF DISTRICT
SUBPOENA AGAINST PAYPAL
HOLDINGS, INC.

MEMO. IN SUPPORT OF MOT. TO COMPEL AGAINST PAYPAL HOLDINGS, INC.

CASE No.

 
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L INTRODUCTION
RetailMeNot, Inc. (“RetailMeNot”) moves this Court for an order compelling PayPal

“Holdings, Inc. (“PayPal”) to comply with 4 Rule’4S subpoena served on PayPal on December 16; |

2019. The requested documents are relevant to RetailMeNot’s patent claims against Honey
Science Corp. (“Honey”) pending in the United States District Court for the District of Delaware.
On November 20, 2019, PayPal announced that it had agreed to acquire Honey for $4 billion.
The acquisition closed on January 6, 2020. Commensurate with the size of the acquisition,
PayPal created and possesses substantial due diligence, analysis, and valuation documents
relating to Honey, which are unquestionably relevant to RetailMeNot’s patent damages.

After several weeks of conferences between counsel, PayPal committed to make a
production of documents responsive to the subpoena. For three and a half weeks, PayPal
repeatedly reaffirmed that it was in the process of collecting and reviewing documents for
production. After this lengthy period of collection and review, PayPal produced just 8
documents, totaling 404 pages and one native Excel spreadsheet.

Based on the small handful documents produced, it appears that many responsive
documents have been withheld, and PayPal has essentially admitted that is the case. Specifically,
shortly before the production, PayPal confirmed to RetailMeNot that its production would be
limited to what PayPal unilaterally determined was “sufficient to satisfy RMN’s legitimate
discovery needs.” That is not permitted under the law.

A subpoena recipient is not entitled to pick and choose which documents are produced
and unilaterally determine, applying an undisclosed standard, what is “sufficient” or what
discovery is “legitimate,” particularly where (as here) there is a total lack of transparency relating
to the subpoena recipient’s process (e.g., systems, custodians, collection, and review). Allowing
that would invite gamesmanship. The subpoenaed entity might withhold evidence damaging to a
favored litigant, arguing that it was entirely justified by such “sufficient” and “legitimate”
disclaimers. The Court should reject PayPal’s legally unsupportable approach.

Further, RetailMeNot submits it is not credible that collection, review, and production of

these documents actually took over three weeks, and the delay appears to have been motivated by

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strategic considerations relating to the Delaware litigation. In view of those tactics, PayPal’s

insistence that it should be permitted to decide which relevant documents to produce poses

|| considerable danger of unfair prejudice to RetailMeNot. Indeed, PayPal’s delay has already = = [

prejudiced RetailMeNot’s ability to prepare its case, as the requested documents are needed to
prepare expert reports due on March 6.

Accordingly, RetailMeNot respectfully asks the Court to grant its motion and compel.
IL. RELEVANT FACTUAL AND PROCEDURAL BACKGROUND

A. RetailMeNot’s Patent Suit Against Honey in Delaware

RetailMeNot and Honey are competitors in the business of aggregating online digital
offers (e.g., digital coupon codes, discounts, and rebates). On June 25, 2018, RetailMeNot sued
Honey for infringement of four U.S. Patents covering various technologies relating to web
applications, including online shopping and merchant offers. (D.L 1.)! In particular,
RetailMeNot accused Honey’s website, browser extensions, and related software and services of
infringing RetailMeNot’s patents. (Jd. 39.) Honey counterclaimed for infringement of a Honey
patent. (D.I. 28 at Counterclaim Nine.)

The case has reached the close of fact discovery, which was originally set for January 17,
2020, and opening expert reports are due on March 6, 2020. (D.L 29 at 2.) Some fact discovery
remains, however, and the parties stipulated to an extension of the deadline for certain fact
discovery, including specifically discovery from PayPal. (D.I. 216 at 2.) On January 21, 2020,
the Court adopted the parties’ stipulation.

B. PayPal’s Acquisition of Honey

PayPal is a $139 billion company that operates worldwide online payments systems. On
November 20, 2019, PayPal announced that it had agreed to acquire Honey for $4 billion. (Ex.
B.)? The deal closed on January 6, 2020. (Ex. C.) To date, Honey remains a separate entity

from PayPal, and it is undisputed that PayPal is a third party with respect to the Delaware action.

 

1 All Docket Index references herein refer to the docket of Case No. 18-cv-937-CFC-MPT
pending in the United States District Court for the District of Delaware.

2 All exhibit references refer to the exhibits attached to the Declaration of Andrew J. Fossum
(“Fossum Decl.”) submitted concurrently herewith.

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C. RetailMeNot’s Subpoena to PayPal

In view of the acquisition announcement, RetailMeNot issued two subpoenas (one for

“| “documents and one for testimony) to PayPal on December 16, 2019.3 The documentsubpoena~ ~~} ~~

sought documents concerning PayPal’s acquisition of Honey and this litigation. In relevant part,
the requests covered three areas:

(i) PayPal’s diligence, valuation, and negotiation documents relating to Honey

(Request Nos. 1-4, 9);
(ii) | PayPal’s term sheets, offers, and agreements with Honey, including any drafts
(Request Nos. 6, 7); and
(iii) | communications pertaining to this litigation (Request No. 5).
(Ex. D at 12-13.)

Notably, shortly after PayPal’s announcement of the Honey acquisition, RetailMeNot
served discovery requests relating to the PayPal acquisition on Honey. This discovery was
addressed on February 6, 2020 during a discovery dispute hearing with the Court. (See D.I. 212
(scheduling hearing).) The Court in the Delaware action ordered Honey to confirm its production
of documents responsive to that discovery and also made clear that the PayPal subpoena was not
being taken up at that hearing.*

D. RetailMeNot’s First Conference with PayPal

Shortly after RetailMeNot’s subpoena was served, on December 19, 2019, PayPal’s
counsel contacted RetailMeNot about the subpoena. (Fossum Decl. 4 18.) A conference call took
place on December 20, 2019. (/d.) During that call, RetailMeNot answered questions about the
requests, and in particular, identified documents responsive to certain requests (2, 3, 4, 7, & 9) as
potentially very easy to collect and produce. (Jd.) PayPal’s counsel indicated that he was not yet
fully up to speed on the matter and did not provide details regarding PayPal’s documents or any

claims of burden. (/d.) Counsel agreed to resume discussions after PayPal had time to

 

3 The deposition subpoena was re-served on December 20, 2019 because a topic list had been
inadvertently omitted.

4 The transcript of the proceeding is not available at the time of the filing of this motion, and the
Court has not yet provided a written order relating to the hearing.

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investigate the matter further. (/d.)

E. PayPal’s Objections to the Document Subpoena

~ The parties did not confer again prior to PayPal serving objections to the subpoenaon

December 30, 2019. The asserted objections are, for the most part, identical and span over a page
for each request. (See Ex. E at 4-22.) The objections include a series of conditional, “to the
extent that” objections based on relevance, undue burden, confidentiality, and potential
privileges/protections. (/d.) PayPal did not agree to produce any documents, instead stating that
it was “willing to meet and confer” regarding each request. (See, e.g., id. at 5.)

F. RetailMeNot’s Second Conference with PayPal

After receiving PayPal’s objections, the parties corresponded in writing regarding various
issues relating to the subpoena. (Ex. F.) On January 6, 2020, the parties held another conference
call to discuss the subpoena. (Fossum Decl. J 19.) During the call, RetailMeNot proposed that
PayPal focus on collection and production of responsive documents from central repositories
(e.g., shared drives, SharePoint, Wiki, or other workflow management systems) as opposed to
collection from individual custodians. (Fossum Decl. {] 19; see also Ex. F at 2 (at item 2, asking
about central repositories).) RetailMeNot also proposed limiting email searches to a few
custodians and employing the procedures set forth in the email protocol in the Delaware action.
(Fossum Decl. 4 19.) RetailMeNot agreed to defer the issue of any email production until after
PayPal’s first production was complete. (/d.)

G. PayPal’s Commitment to Produce Documents

On January 8, 2020, PayPal sent an email committing to a production. (Ex. Gat 1.) In
particular, PayPal stated: “PayPal is currently in the process of collecting a set of centrally-
located documents sufficient to satisfy RMN’s legitimate discovery needs relating to the Honey
acquisition (at least from PayPal).” (Jd. (emphasis added).) PayPal stated that it expected to
make the production “by the end of next week or early the following week.” (/d.)

H. PayPal’s Delays, Missed Deadline, and Failure to Respond

On January 16, 2020, having heard nothing from PayPal, RetailMeNot sent an email
confirming the January 21, 2020 production date. (Ex. H at 1.) PayPal reaffirmed that it was

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“still in the process of collecting and reviewing documents,” but pushed the date for production

by several days without explanation. (/d.)
By January 23, 2020 (i.e., the eve of the date PayPal had committed io makinga@” |

production), RetailMeNot had not heard anything from PayPal. Accordingly, RetailMeNot asked
for a date certain by which the production would be made. (Ex. J at 1-2.) PayPal did not respond
and did not produce any documents by the promised date of January 23, 2020. (dd. at 1.)

On January 24, 2020, RetailMeNot asked for an immediate response confirming when
PayPal would be making its production. (Jd.) PayPal did not respond for two days. On January
27, 2020, RetailMeNot’s counsel left a voicemail with PayPal’s counsel stating that motion
practice would be necessary without an immediate response. (Fossum Decl. ¢ 20.) Only then did
PayPal finally respond, claiming that it was still “in the process of reviewing documents” and
suggesting that it would make a production by the end of the week. (Ex. I at 1.) PayPal did not
explain its delay, missed deadline, or failure to respond for several days. (Jd.)

RetailMeNot immediately responded, asking for details substantiating the need for further
delay (e.g., total documents located, documents reviewed, and documents awaiting review) and a
firm commitment to a production by the end of the week. (Ex. J at 2.) The next day, PayPal
committed to making a production by the end of the week but would not answer questions
regarding the number of documents in various stages of review and production. (/d.) In
response, RetailMeNot continued to press for more details concerning the delay and production
status. (Jd. at 1.)

After another full day of delay, PayPal responded, revealing for the first time that its
outside counsel had reviewed only “25-30 potentially responsive documents.” (Jd.) PayPal also
asserted that its production would be limited to what it viewed as “sufficient to satisfy RMN’s
legitimate discovery needs.” (Id. (emphases added).)

I. PayPal’s Limited Document Production and RetailMeNot’s Response

On Friday, January 31, 2020, well after the close of business, PayPal made its first
document production. (Ex. K at 1.) The production consists of eight documents totaling 404

pages and one native Excel spreadsheet. (Fossum Decl. { 21.) Over half of the 404 pages

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produced are a single document—the merger agreement. (/d.) In addition, the production

contained numerous redactions, but PayPal did not serve a privilege log. Ud.)

~~ On February 4; 2020, RetailMeNot emailed PayPal to raise issues relating tothe: - ~~ - | ~

production and notify PayPal of RetailMeNot’s intent to file a motion to compel. (Ex. L.)
RetailMeNot asked PayPal to address various deficiencies in its production and confirm that
certain responsive documents had been produced. (Id. at 1-2.) RetailMeNot requested that
PayPal provide details supporting its prior representations that such a small production took over
three weeks. (id. at 2 (see Item 1).) RetailMeNot also sought details regarding PayPal’s review
process and any alleged burden that would be imposed by making a comprehensive production.
(id. at 2 (see Items 2, 3, & 5).) Finally, RetailMeNot asked for the basis of PayPal’s privilege
claims. (Jd. at 2 (see Item 4).)

On February 6, 2020, PayPal responded. (Ex. M.) Other than offering to provide a
privilege log and confirming that it was not withholding any documents based on privilege,
PayPal declined to address any of the deficiencies raised by RetailMeNot or to provide any of the
information requested. (id.) PayPal did not offer to make any additional production. Ud.)
PayPal did not dispute that it had withheld documents based on its “sufficient” and “legitimate”
limitations. (Id.) PayPal offered no explanation as to why it took over three weeks to make its
limited production. (/d.)

Accordingly, RetailMeNot filed this motion to compel.

Ti. LEGAL STANDARD

Rule 45 of the Federal Rules of Civil Procedure allows a party to issue a subpoena to
command a non-party to produce documents or tangible things in its possession, custody, or
control. Fed. R. Civ. P. 45. The scope of discovery through a subpoena is the same as under
Rules 26 and 34 of the Federal Rules of Civil Procedure. See 9A Charles Alan Wright et al.,
Federal Practice and Procedure § 2452 (3d ed. 2019) (citing cases).

A party may obtain discovery of any non-privileged matter that is relevant to any claim or
defense. Fed. R. Civ. P. 26(b)(1). Rule 26 limits discovery where the burden of the proposed

discovery outweighs its likely benefit, taking into account the needs of the case, the parties’

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resources, the importance of the issues at stake in the litigation, and the importance of the
proposed discovery in resolving the issues. Fed. R. Civ. P. 26(b)(1) and (2).

To respond to a Rule 45 subpoena, “a reasonable inquiry must be made, and ifno —
responsive documents or tangible things exist, the responding party should so state with sufficient
specificity to allow the Court to determine whether the party made a reasonable inquiry and
exercised due diligence.” McMaster v. Spearman, No. 1:10-CV -01407-A WI-SKO PC, 2014 WL
508677, at *4 (E.D. Cal. Feb. 6, 2014) (internal citations omitted); see also Rogers v. Giurbino,
288 F.R.D. 469, 485 (S.D. Cal. 2012). A non-party commanded to produce documents and
tangible things may serve objections to the subpoena. Fed. R. Civ. P. 45(d)(2)(B). But unless the
non-party has an adequate excuse, it must comply with a valid subpoena. See Fed. R. Civ. P.
45(g) (“The court for the district where compliance is required . . . may hold in contempt a person
who, having been served, fails without adequate excuse to obey the subpoena.”). Moreover, “a
non-party is subject to the requirements that an objection to a document request must, for each
item or category, state with specificity the grounds for objecting to the request, including the
reasons, and must state whether any responsive materials are being withheld on the basis of that
objection; that an objection to part of a request must specify the part and permit inspection of the
rest; that ‘general or so-called boilerplate or unsupported objections are improper under Rule
45(d)(2)(B).”” Total Rx Care, LLC v. Great N. Ins. Co., 318 F.R.D. 587, 593 (N.D. Tex. 2017).
Ultimately, “the responding party must explain and support its objections.” Id.

Rule 37 provides that “[o]n notice to other parties and all affected persons, a party may
move for an order compelling disclosure or discovery.” Fed. R. Civ. P. 37(a)(1). The proper
venue in which to file a motion to compel a non-party to comply with a subpoena is “the district
where compliance is required.” Fed. R. Civ. P. 45(d)(2)(B)(i). Because the subpoenas at issue
here require PayPal to produce documents and appear for a deposition in the Northern District of
California where it maintains offices, venue is proper in this Court.

Iv. ARGUMENT
The core issue presented in this motion is not whether the documents sought by the

subpoena are relevant—they are, and PayPal appears to have conceded that. Rather, the core

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issue here is PayPal’s contention that it is entitled to hand-pick which relevant documents it

produces and which it withholds from production. That is contrary to the law, and the Court

7 ~ should reject PayPal’s approach to discovery. re eee

Further, the discovery is proportional to the needs of the case in view of (1) the relevance
of this information to the critical issue of patent damages, (2) the fact that PayPal is the sole
source of the particular documents sought, (3) PayPal’s substantial resources and $4 billion
purchase of Honey, and (4) PayPal’s failure to identify a single fact regarding any alleged burden
or expense of compliance. Further, PayPal’s remaining boilerplate objections provide no
legitimate basis for its refusal to comply with the subpoena.

Accordingly, RetailMeNot respectfully asks the Court to grant its motion to compel.

A. The Discovery Sought Is Relevant

RetailMeNot’s subpoena seeks several categories of documents that relate to the
valuations, analysis, and other diligence by PayPal in connection with its $4B acquisition of
Honey. Request No. 1 seeks the documents that PayPal relied upon to negotiate or calculate the
amount of the deals with Honey. (Ex. A at 1.) Request No. 2 seeks the documents concerning
analysis of Honey’s technology, which is necessary to understand the basis for Honey’s
valuations. (Jd. at 1-2.) Request Nos. 3, 4, and 9 seek valuations or valuation models relating to
Honey as whole, its components, its assets and liabilities, and its patents and patent
applications—again, documents that are necessary to understand the basis for PayPal’s
valuations. (Jd. at 2-3 & 6-7.) Request Nos. 6 and 7 seek the term sheets, offers, and agreements,
including drafts, that are critical to understanding the evolution of PayPal’s valuation as well as
any important non-monetary terms. (Id. at 5-6.) Request No. 5 seeks PayPal’s documents and
communications about the Delaware litigation and related litigations that are, on their face,
relevant to the litigation, but also shed light on potential bias of PayPal. (Jd. at 4)

The materials discussed above are particularly relevant to patent damages where, as here,
the accused product is “pretty much the whole company.” See, é.g., Symantec Corp. v. Zscaler,
Inc., No. 17-cv-04426-JST (TSH), 2019 WL 2288278, at *1-2 (N.D. Cal. May 29, 2019). In

Symantec, the Court granted a motion to compel valuation documents prepared in connection

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with the defendant’s initial public offering. Jd. at *1. As the Court explained:

[T]he market for and valuations of the accused products are relevant
to the demand for the patented product, the amount of profit the
patentee would have made, the profitability and commercial success
of products made under the patents, as well as other factors under
Panduit Corp. v. Stahlin Bros. Fibre Works, Inc. and Georgia-
Pacific Corp. v. United States Plywood Corp. True, [the request]
goes a little past that because it also asks for valuations of [defendant]
as a whole, not just valuations of particular products. But
[defendants’] own website, as well as other public descriptions of the
company such as Wikipedia, make it sound like the [accused
product] at issue is pretty nmuch the whole company.

* * *

The Court understands that the valuation of an accused product (and
even more so the valuation of [defendant] as a company) includes the
value of the non-infringing aspects as well — legally speaking, it’s not
a straight shot from product valuation to patent infrmgement
damages. But the standard here is relevance, and these valuations
meet that standard because they are an important input to the
computation of damages.
Id. at *|-2 (internal citations omitted).
RetailMeNot accuses Honey’s website, browser extensions, and related software and

services of infringing its patents. (DL 1 439.) As in Symantec, that is essentially the whole

company. The few documents PayPal has produced prove that [ee eee
PayPal’s documents also show that numerous, relevant documents have been withheld
from production. For exam,

GEE (Ex. P.) None of these responsive, relevant documents have been produced as

 

5 RetailMeNot has submitted only the relevant excerpts from the documents produced to
minimize the need to file and seal information designed “OUTSIDE ATTORNEYS’ EYES
ONLY” by PayPal. Upon the Court’s request, RetailMeNot will promptly submit a full copy of
any document.

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required under the law. See Viasat, Inc. v. Space Systems/oral, Inc., No. 12-CV-0260-H-WVG,
2013 WL 12061801, at *4 (S.D. Cal. Jan. 14, 2013) (granting motion to issue letter rogatory to

" foreign third party and noting that documents concerning “the evaluation and acquisition of a

company purchased by the defendant company, as well as the evaluation of its various assets, was
discoverable”) (citing Fresenius Medical Care Holdings, Inc. v. Baxter Int I, Inc., No. C 03-1431-
SBA, 2008 WL 928539 (N.D. Cal. Apr. 4, 2008); Fastek, LLC v. Steco, No. 10-CV-0972-MMA-
CAB, 2011 WL 4499101, at *2 (S.D. Cal. Sept. 27, 2011) (valuation and due diligence
documents created during the acquisition of one company by another are relevant to damages).

B. PayPal Is Not Entitled to Pick Which Relevant Documents It Produces

PayPal claims that it is entitled to pick and choose which particular documents it produces
in response to the subpoena under the guise of its unilaterally imposed, undisclosed standard of
what PayPal views as “sufficient” for RetailMeNot’s “legitimate discovery needs.” (Ex. J.)
Critically, PayPal does not appear to deny that it hand-picked the few documents it produced and
withheld all others based on its amorphous, internal standard. (See Ex. L at 1 (raising PayPal’s
apparent withholding); see Ex. M (failing to deny withholding).) That approach is plainly
contrary to the law. Marshall v. The Billings Clinic, Case No. CV-14-93-BLG-SPW-CSO, 2015
WL 7574758, at *4 (D. Mon. Nov. 25, 2015) (granting a motion to compel, noting that “no party
may unilaterally decide what is relevant and produce only those documents she chooses to
produce”); Strand v. USANA Health Sciences, Inc., Case No. 2:17-cv-00925, 2019 WL 2745537,
at *4 (D. Utah June 28, 2019) (“Plaintiffs are not entitled to decide what information is
‘sufficient? when Defendant has requested relevant, discoverable documents, as it has done here.
Nor can Plaintiffs object to producing documents without identifying which documents are being
withheld on the basis of each objection.”); Reddy v. Lowe’s Cos., Inc., Case No. 13-cv-13016,
2014 WL 12644304, at *1 (D. Mass. Oct. 21, 2014) (Defendant’s “duty to produce relevant
documents is not satisfied by the production of some subset of documents that ‘fall[ ] within the
scope’ of a request or that it has unilaterally determined are ‘sufficient to show’ the information
Plaintiff seeks.”); McNabb v. City of Overland Park, Case No. 12-CV-2331, 2014 WL 1152958,

at *4 (D, Kan. Mar. 21, 2014) (“Plaintiff is entitled to production of responsive documents, not

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just those documents or parts of documents that Defendant unilaterally deemed relevant.”)

Moreover, the claim that production of some relevant information essentially shifts the

" burden to the party seeking discovery to explain why it is insufficient has been expressly rejected [~~~

by this Court. Symantec Corp., 2019 WL 2288278, at *2 (“Zscaler states that it has already
produced detailed sales, marketing and financial information, and it argues that Symantec has not
explained why that information is not sufficient to prepare its damages case. However, the
production of other documents that may also be relevant does not cause the documents Symantec
seeks...to become less relevant.”) Accordingly, any such claim by PayPal should be rejected.

Finally, even if PayPal’s approach were not contrary to the law, PayPal’s apparent tactic
of delaying its production for weeks weighs heavily against any suggestion that PayPal should be
given carte blanche to decide which evidence it wishes to withhold from production.
RetailMeNot submits that PayPal’s repeated representations that it was collecting and reviewing
eight documents totaling 404 pages and one Excel spreadsheet for over three weeks are not
credible.® RetailMeNot asked PayPal to substantiate its claim, but PayPal declined. (See Ex. L at
2 (Item No. 1); Ex. M.) Accordingly, PayPal should not be given additional discretion to frustrate
RetailMeNot’s efforts to obtain relevant evidence.

C. The Discovery Sought Is Proportional to the Needs of the Case

Rule 26 provides that courts should consider “the importance of the issues at stake in the
action, the amount in controversy, the parties’ relative access to relevant information, the parties’
resources, the importance of the discovery in resolving the issues, and whether the burden or
expense of the proposed discovery outweighs its likely benefit” in determining whether the
discovery sought is proportional to the needs of the case. Fed. R. Civ. P. 26(b)(1).

As discussed, the discovery sought is relevant to RetailMeNot’s damages—one of the
critical and core issues in the Delaware patent litigation. It is not some ancillary matter, and the

discovery is important to resolving damages issues. Symantec Corp., 2019 WL 2288278, at *2

 

6 This is especially true where a large company like PayPal has a sophisticated e-discovery
platform that would necessarily provide for rapid and efficient collection of documents, as
evidence by the fact that PayPal’s e-Discovery Director was given an award for innovation in
2019. (Ex. N.)

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(“Valuations...are an important input to the computation of damages.”). Moreover, as to the
amount in controversy, PayPal’s acquisition of Honey for $4B demonstrates that the amount in
controversy is substantial—more than sufficient to justify a subpoena to a company that just spent |
$4B acquiring the Defendant.

Regarding access to the information sought, PayPal is the only source for the particular
documents sought relating to its valuations, analyses, and diligence. Absent unusual
circumstances, those materials would not be shared with any other party, and it does not appear
that the relevant documents produced by PayPal to date were shared with Honey. To the extent
PayPal claims to the contrary, it should have raised that issue during the parties’ conferences and
identified alternative sources for specific documents. It did not.’

Finally, with respect to weighing burden or expense against the likely benefit of the
discovery sought, the only specific burden claim ever articulated by PayPal was its claim that it
would need to search the documents of 200 custodians to comply with the subpoena. (See Ex. F
at 3.) That objection was resolved completely by limiting PayPal’s collection to centralized
document sources and a handful of email custodians. (See supra at Section IF.) Beyond that,
PayPal never identified any legitimate basis for its burden objections, despite RetailMeNot’s
repeated requests that it do so—not merely because it is necessary to support a non-frivolous
assertion of those objections, but also to enable RetailMeNot to make proposals to reduce or
eliminate any identified burden or expense.

The parties’ most recent exchange regarding this motion highlights PayPal’s mability to
substantiate its burden objections. RetailMeNot asked PayPal to provide specific details that
would be necessary to support a claim of undue burden. (Ex. L at 2 (Item Nos. 2, 3, & 5.).) In
response, PayPal reasserted its generalized, boilerplate claim of burden, but refused to provide a
single specific detail explaining how and to what extent complying with the subpoena would

impose burden. (Ex. M.) Without details, PayPal’s burden objections amount to nothing more

 

7 To be clear, RetailMeNot consistently confirmed that it was not seeking documents that were in
the possession of Honey, and PayPal never claimed that it had shared its due diligence/valuation
materials in particular with some other party.

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than hand-waving and should be rejected. Total Rx Care, 318 F.R.D. at 593 (“a non-party's Rule

45(d)(2)(B) objections to discovery requests in a subpoena are subject to the same prohibition on

"general or boiler-plate [or unsupported] objections and requirements that the objections mustbe [ = =

made with specificity and that the responding party must explain and support its objections.”)
(emphasis added).

D. PayPal’s Other Objections Lack Merit

In its most recent correspondence, PayPal asserted that “RMN still has not addressed” the
objections PayPal has served. (Ex. M at 2.) Asa general matter, those boilerplate objections are
improper and lack merit. In particular, PayPal has failed to state whether it has withheld any
documents based on those objections. Total Rx Care, 318 F.R.D. at 593 (“[A] non-party is
subject to the requirements that an objection to a document request must, for each item or
category, state with specificity the grounds for objecting to the request, including the reasons, and
must state whether any responsive materials are being withheld on the basis of that objection;
that an objection to part of a request must specify the part and permit inspection of the rest, that
‘general or so-called boilerplate or unsupported objections are improper under Rule
45(d)(2)(B).’”) (emphasis added). In view of this failure and PayPal’s practice of asserting
conditional, “to the extent” objections, it is unclear whether any of those objections are actually
material to PayPal’s production of responsive documents. Regardless, RetailMeNot addresses
each objection briefly below. ‘

Relevance and Burden. PayPal objects “to the extent” that relevance and undue burden
grounds are presented by each request. (Ex. A at 1.) All of those objections have already been
addressed above. (See supra at Section IV.A and C.)

Vague/Ambiguous Terms. PayPal objects that various terms, e.g., “Honey technology,”
are “vague, ambiguous, and overbroad. (Ex. A at 2.) These objections are specious, and if
PayPal truly had any questions as to what any of the allegedly vague terms meant, it failed to
raise that during multiple conferences and extensive correspondence.

Third Party Confidentiality. PayPal objects “to the extent” each Request implicates
third party confidentiality issues. (Ex. A at 1.) PayPal has not identified any specific third party

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" any legitimate concerns it may have. (Ex. D at 15-41.)

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confidentiality issue, and in any event the Discovery Confidentiality Order entered in the
Delaware case permits PayPal to designate materials at various levels of confidentiality to address

Possession. PayPal objects “to the extent it seeks documents that are not within the
possession, custody, or control of PayPal.” (Ex. A at 1.) This objection appears to be frivolous,
especially in view of RetailMeNot’s conferences with PayPal, but it has not been withdrawn.
Absent PayPal’s insistence that RetailMeNot must address all of PayPal’s prior asserted
objections, RetailMeNot would not have addressed it. Regardless, RetailMeNot confirms it is not
seeking documents outside of PayPal’s possession, custody, or control.

Privileges. PayPal objects “to the extent” each Request implicates a privilege or
protection. (Ex. A at 1.) As a general matter, if PayPal is withholding documents based on some
asserted privilege, it is required to “describe the nature of the withheld documents,
communications, or tangible things in a manner that, without revealing information itself
privileged or protected, will enable the parties to assess the claim.” Fed. R. Civ. P. 45(e)(2){a). It
has not done so—even with respect to the production it has already made and the redactions
within it,’ and “[t]he Ninth Circuit has held that the failure to timely produce a privilege log may
result in waiver of asserted privileges.” Johnson v. Starbucks Corp., No. 16-cv-00724-DMR,
2019 WL 402359, at *6 (N_D. Cal. Jan. 31, 2019), citing Burlington N. & Santa Fe R.R. Co. v.
U.S. Dist. Court for the Dist. of Mont., 408 F.3d 1142, 1149 (9th Cir. 2005).

V. CONCLUSION

For the foregoing reasons, RetailMeNot respectfully asks the Court to overrule PayPal’s
objections and grant its motion to compel, ordering PayPal to (i) produce all documents
responsive to Request Nos. 1-7 and 9 of the subpoena located within any central repositories
relating to PayPal’s acquisition of Honey within five business days of the Court’s order; and (ii)

produce email from two custodians employing five search terms in accordance with the email

 

8 In its most recent correspondence, PayPal’s counsel stated that PayPal (i) is not withholding any
documents based on privilege “although it reserves the right to do so,” and (ii) will produce a
privilege log for its already-made redactions by February 11. (Ex. M at 2.)

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discovery protocol entered in connection with the underlying Delaware action.

Dated: February7,2020 4 © SPEARHEADLEGALLLP ~~

/s/ Andrew J. Fossum

 

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RETAILMENOT, INC.

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